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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
KATHRYN TOWNSEND GRIFFIN, THE ESTATE
OF CHERRIGALE TOWNSEND and THE HELEN
CHRISTINE MCDONALD TRUST,

                   Plaintiffs,

            -against-                        ECF CASE

EDWARD CHRISTOPHER SHEERAN, p/k/a ED         17-cv-5221 (LLS)
SHEERAN, ATLANTIC RECORDING
CORPORATION, d/b/a ATLANTIC RECORDS,
SONY/ATV MUSIC PUBLISHING, LLC, and
WARNER MUSIC GROUP CORPORATION, d/b/a
ASYLUM RECORDS

                   Defendants.




         DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF
      THEIR SEVENTH MOTION IN LIMINE TO PRECLUDE PLAINTIFFS’
     PROPOSED PERFORMANCE OF THE LET’S GET IT ON DEPOSIT COPY



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       Defendants Edward Christopher Sheeran (“Sheeran”), Atlantic Recording Corporation

(“Atlantic”) and Sony/ATV Music Publishing LLC (n/k/a Sony Music Publishing (US) LLC)

(“SMP,” together with Atlantic and Sheeran, the “Defendants” and each a “Defendant”),

respectfully submit this memorandum of law in support of their Seventh Motion In Limine for an

Order precluding Plaintiffs from introducing at trial their proposed performance of the Let’s Get

It On Deposit Copy as recorded on Audio Exhibit 1 and Audio Exhibit 2, which Audio Exhibits

are annexed to the accompanying Declaration of Donald S. Zakarin.

                               PRELIMINARY STATEMENT

       As this Court has already ruled, Plaintiffs’ infringement claim is limited, at most, to the

deposit copy (“Deposit Copy”) of Let’s Get It On (“LGO”) registered with the Copyright Office.

Defendants arranged for the creation of computer-generated audio files of LGO that conform to

the Deposit Copy (the “Computer Audio Files”). After receiving the Computer Audio Files from

Defendants, Plaintiffs acknowledged that they reflect the Deposit Copy, advising they had no

objection to Defendants offering those files as evidence during their case. However, Plaintiffs

have refused to limit themselves to the use of those Computer Audio Files. Instead, they have

insisted on offering their own purported realization of the Deposit Copy, as reflected in two audio

files they provided to Defendants, which contain two different “performances” of the Deposit

Copy by a musician and vocalist. The fact that these two recordings differ from each other, in and

of itself, undermines the admissibility of this evidence, as there is only one Deposit Copy. More

importantly, as discussed below, neither of Plaintiffs’ recordings conforms to the Deposit Copy.

       But Plaintiffs do not contemplate using either of the two different audio files at trial.

Instead, Plaintiffs have advised that they intend to call upon the musician and vocalist who

performed on the two audio files to render his purported live performance of the Deposit Copy



                                                1
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during trial, supposedly consistent with one or both of those audio files (“Plaintiffs’ Proposed

Performance”).1

       The fundamental problem with Plaintiffs’ Proposed Performance of the Deposit Copy,

assuming it would be consistent with either of the two audio files they provided to Defendants’

counsel, is that neither of the two audio files is remotely faithful to the Deposit Copy but, instead,

intentionally misrepresent it. They include elements nowhere notated in the Deposit Copy and,

compounding the distortion, they try to mimic Thinking Out Loud (“TOL”) in ways not actually

expressed in the Deposit Copy. Thus, even if Plaintiffs’ Proposed Performance were faithful to

the two audio files, it would be in complete violation of this Court’s March 24, 2020 Order. (ECF

121). Allowing Plaintiffs’ Proposed Performance to be played to the jury would be irremediably

prejudicial, constituting grounds for a mistrial because, once LGO is performed for the jury

containing elements nowhere found in the Deposit Copy, it cannot be unheard by the jurors.

       On March 24, 2020, the Court granted Defendants’ First, Second and Third Motions In

Limine and “limit[ed] Plaintiffs to comparing [TOL] with the musical composition [LGO] as

reflected in the deposit copy filed with the Copyright Office for that work.” (ECF 121 at 2). The

Court further ruled that the Marvin Gaye sound recording of Let’s Get It On (the “LGO Recording”)

“contains many elements: percussion/drums, bass-guitar, guitars, Gaye’s vocal performances,

horns, flutes, etc.,” that “are not protected by copyright, because they are not in the Deposit Copy.”

(Id. at 2). Rejecting Plaintiffs’ argument that certain elements could be “implied” into the Deposit

Copy, the Court also expressly ruled that “the field of protected elements” is not “enlarged on the

theory they are consistent, and harmonize with the work as articulated in the Deposit Copy, and



1
  Plaintiffs never disclosed their musician and vocalist as a Rule 26 expert, nor did their expert
musicologist opine on either audio file. One audio file is recorded in the key of D, and one is
recorded in the key of E Flat.
                                                  2
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are implied by the way the articulated elements are expressed. If what is implied is not in the

Deposit Copy, it does not have the protection of copyright.” (Id.). The Court further ruled that

the LGO Recording “is inadmissible in any way which might confuse the jury into thinking it

represents what is protected by copyright.” (Id. at 3).

       This Court’s March 24, 2020 Order is law of the case, and Plaintiffs have known that their

evidence is limited in accordance with this Order for nearly three years. Plaintiffs’ Proposed

Performance directly seeks to evade the restrictions imposed by that Order and, in so doing, will

cause substantial, irreparable prejudice and jury confusion and deprive Defendants of their right

to a trial on the merits of properly admissible evidence.

       In contrast to Plaintiffs’ Proposed Performance, Defendants engaged Paul Geluso, a

professional music recording engineer and the Director of the Music Technology Program at

NYU’s Steinhardt School, to create an accurate realization of the Deposit Copy. Mr. Geluso

created the Computer Audio Files alluded to above by inputting the information contained in the

Deposit Copy into a computer program, which program then generated sounds without any

subjective human performance elements or embellishments. Thus, the Computer Audio Files

indisputably represent exactly what is reflected in the Deposit Copy.2

       As noted above, Plaintiffs have advised that they have no objection to the admission of the

Computer Audio Files at trial, nor could they legitimately object to their admission because the

Computer Audio Files, in fact, accurately represent the Deposit Copy. That being the case, there

is no need for Plaintiffs’ Proposed Performance to be presented to the jury to begin with and it



2
  The Computer Audio Files that Defendants furnished to Plaintiffs are annexed as Audio Exhibits
3-5 to the Zakarin Declaration. These Computer Audio Files update a prior set provided to
Plaintiffs (which prior set Plaintiffs acknowledged accurately realized the Deposit Copy), improve
the audio quality and correct inconsequential discrepancies (mostly in a few words of the lyrics,
which are not at issue in this case).
                                                 3
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should not be presented to the jury because it is anything but an accurate representation of the

Deposit Copy. Given that the two proposed audio files provided by Plaintiffs contradict not only

the Deposit Copy but also each other, there is no telling what Plaintiffs’ Proposed Performance

could be at trial, but, even if faithful to either of the two audio files, it would not be faithful to the

Deposit Copy.       There is thus no reason to wait until trial to address Plaintiffs’ Proposed

Performance because it is already indisputable that it is inconsistent with the Deposit Copy, and

the trial risk is too great to defer this issue to trial.

        Because Plaintiffs’ Proposed Performance contravenes Rule 401, Rule 403 and the Court’s

March 24, 2020 Order and because it is undisputed and indisputable that the Computer Audio Files

represent an empirically accurate representation of the Deposit Copy, the Court should bar

Plaintiffs from offering their Proposed Performance at trial.

                                               ARGUMENT

I.      PLAINTIFFS’ PROPOSED PERFORMANCE
        OF THE DEPOSIT COPY SHOULD BE BARRED

        A.       Plaintiffs’ Proposed Performance Contravenes Rules
                 401 And 403, And The Court’s March 24, 2020 Order

        Plaintiffs’ Proposed Performance of the Deposit Copy should be excluded because it

violates Rules 401 and 403, and the Court’s March 24, 2020 Order (ECF 121) which, consistent

with the law, clearly and unambiguously limited the copyright of LGO to the Deposit Copy.3 See,

e.g., Hamza v. Saks Fifth Ave., Inc., No. 07-cv-5974 (FPS), 2011 WL 6187078, at *7 (S.D.N.Y.


3
  Not only does this Court’s March 24, 2020 Order make clear that anything not expressed in the
LGO Deposit Copy is not within the LGO copyright, Plaintiffs are also fully aware of this Court’s
September 9, 2021 Order in the parallel case brought by Structured Asset Sales, LLC (an entity
with which Plaintiffs have closely collaborated). That Order reiterated the March 24, 2020 Order
in this case and specifically held that “[t]here is no genuine question that there is no notation or
specification of a bass line in the Deposit Copy,” which “is apparent from a visual inspection, and
is beyond dispute.” (See 18-cv-5839 (LLS), ECF 197).
                                                       4
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Dec. 5, 2011) (precluding evidence under Rule 401 “not probative of any disputed issue in this

case”); Knight v. State Univ. of New York at Stony Brook, No. 13-cv-0481 (JS) (GRB), 2016 WL

7046765, at *1 (E.D.N.Y. Dec. 2, 2016) (excluding evidence under Rule 401 that “has no bearing

on [plaintiff’s] claim”); Fahmy v. Jay Z, No. 07-cv-05715 (CAS), 2015 WL 5680299, at *14 (C.D.

Cal. Sept. 24, 2015) (excluding sound recordings because they “carr[y] a significant risk of

confusing and misleading the jury” since they are not “a representation of [plaintiff’s] copyright

in the written composition” at issue); Shatkin v. McDonnell Douglas Corp., 727 F.2d 202, 208 (2d

Cir. 1984) (excluding evidence under Rule 403 that would result in an “apples and oranges

comparison”); Bd. of Trs. of AFTRA Ret. Fund v. JPMorgan Chase Bank, N.A., 860 F. Supp. 2d

251, 256 (S.D.N.Y. 2012) (excluding evidence under Rule 403 that would result in a “misleading

comparison”).

       Plaintiffs’ two audio files establish that Plaintiffs’ Proposed Performance should not be

allowed, as these files represent two different, purposefully and materially inaccurate subjective

“renditions” of the Deposit Copy. The fact that the two audio files differ from each other

underscores the impropriety of what Plaintiffs intend to present at trial, as there is only one Deposit

Copy, and yet Plaintiffs apparently intend to show the various ways the Deposit Copy can be

“performed” or “implied,” in direct contravention of this Court’s prior Orders.4

       Playing Plaintiffs Proposed Performance to the jury (and one is left only to guess what

exactly that will be) would result in substantial prejudice to Defendants in violation of Rule 403

because it attempts to channel the already-barred LGO Recording while also mimicking TOL in a

transparent attempt to manufacture similarities between the two compositions that do not exist in




4
 To be clear, the differences between the two audio files exist even when compared in the same
key signature.
                                                  5
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the Deposit Copy.       And that prejudice is not remediable because no matter what curative

instructions may be given, the jurors cannot unhear Plaintiffs’ Proposed Performance after it has

been played for them.

        As detailed in the accompanying Declaration of Defendants’ expert musicologist, Dr.

Lawrence Ferrara, Plaintiffs’ Proposed Performance does not remotely reflect an accurate

realization of the Deposit Copy. For example, many of the guitar chords are played with the

incorrect note as the lowest note of the chord, which Plaintiffs have done in clear effort to imply a

low “bass” note into the Deposit Copy, where no bass line is notated in the Deposit Copy. This is

in violation of the March 24, 2020 Order, which makes clear that what is not in the Deposit Copy

cannot be “implied” and in willful disregard of this Court’s holding in the parallel Structured Asset

Sales case that it is “beyond dispute” that there is no bass line in the Deposit Copy. It is also an

improper and inadmissible attempt to pretend that the Deposit Copy “contains” a bass line similar

to the actual bass line in TOL.5 As further detailed in the Ferrara Declaration, Plaintiffs’ Proposed

Performance also features guitar strumming rhythmic patterns that are not notated in the Deposit

Copy.

        Not content to misrepresent the Deposit Copy in the ways already noted above, Plaintiffs’

Proposed Performance also intentionally misrepresents the vocal melody. As detailed in the

Ferrara Declaration, the vocal melody is sung off-key with omitted notes, incorrect pitches and

incorrect rhythmic durations. This alteration of the vocal melody is plainly no accident; this is at

least the second time Plaintiffs have altered the vocal melody. Simply put, Plaintiffs’ audio files




5
  Despite this Court’s Orders that what is not expressed in the Deposit Copy cannot be implied
into it and that it is “beyond dispute” that the Deposit Copy does not express any bass line,
Plaintiffs’ Proposed Performance attempts to “imply” a bass line into the Deposit Copy that does
not exist, in plain violation of this Courts’ unambiguous Orders.
                                                 6
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have intentionally altered the vocal melody, just as Dr. Stewart intentionally altered the vocal

melodies, in an attempt to manufacture claimed similarities that do not exist, a falsification of the

Deposit Copy that Dr. Ferrara already has documented and will demonstrate at trial.

       Compounding the distortion further, as further detailed in the Ferrara Declaration, the two

proposed performances that Plaintiffs seek to offer present two different interpretations of the

vocal melody, and neither interpretation is accurate. That Plaintiffs seemingly contend that there

is more than one version of the very singular Deposit Copy of LGO bespeaks that their goal is to

confuse and mislead the jury. In short, Plaintiffs’ Proposed Performance is, from first to last, a

transparent alteration of evidence to fabricate similarities between the two works that do not exist

and are based on elements that nowhere appear in the Deposit Copy. Not only does Plaintiffs’

Proposed Performance have zero probative value – because it does not present an accurate

realization of the Deposit Copy – but admitting such evidence would cause substantial, irreparable

prejudice and deprive Defendants their right to a fair and impartial trial.

       B.      Defendants’ Computer Audio Files Faithfully Reflect
               The Deposit Copy And Eliminate Any Need For Plaintiffs’
               Proposed Performance Of Let’s Get It On To The Jury

       Defendants engaged a record producer, sound engineer and the Director of the Music

Technology Program at NYU’s Steinhardt School who used a computer software program to create

audio files that accurately represent the Deposit Copy. These audio files have been computer-

generated and are objective reproductions of the Deposit Copy without embellishment. It is

indisputable that the Computer Audio Files represent an empirically accurate realization of the




                                                  7
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Deposit Copy.6 Indeed, Plaintiffs have advised they have no objection to the Computer Audio

Files being played during trial, necessarily admitting that they represent an accurate performance

of the Deposit Copy.7

       Accordingly, given that the Computer Audio Files represent an accurate realization of the

Deposit Copy, Plaintiffs’ Proposed Performance – even were it an accurate realization of the

Deposit Copy, and it undoubtedly will be anything but – is wholly unnecessary. Plaintiffs should

not be allowed to obtain a tainted verdict by misleading and confusing the jury by offering evidence

that this Court already has excluded, evidence that purposefully deviates from the Deposit Copy

in misleading, prejudicial ways.

       Plaintiffs have repeatedly demonstrated that they will not comply with this Court’s Orders

that barred Plaintiffs from offering musical elements that do not appear in the Deposit Copy. By

way of example, in the lengthy back and forth in drafting the Liability Pretrial Order, as late as

February 17, 2023, Plaintiffs insisted on (a) claiming, in their own proposed findings of fact, an

alleged similarity that is based on an “implied bass line” that this Court has repeatedly ruled

nowhere exists in the Deposit Copy and (b) referring to the Marvin Gaye recording, which this




6
  Because the Deposit Copy does not notate a tempo and because a tempo must be utilized for any
composition to be performed, the Computer Audio Files that Defendants have shared with
Plaintiffs utilize a tempo that make the Deposit Copy appear more similar to TOL than it actually
is; however, for the sake of comparison, Defendants also intend to offer Computer Audio Files
played at faster and slower tempos.
7
 Although Plaintiffs’ concession that they have no objection to the use of the Computer Audio
Files should be sufficient to confirm they are consistent with the Deposit Copy, Defendants have
no objection to the Court having an independent musicologist confirm that they reflect what is
expressed in the Deposit Copy.

                                                 8
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Court also has made clear has been excluded.8 Plaintiffs’ Proposed Performance, too, reflects their

refusal to limit their proposed evidence to what this Court has Ordered. Given their continuing

refusal to comply with this Court’s Orders, it is clear that no instruction to Plaintiffs’ proposed

performer to restrict his performance to elements actually notated in the Deposit Copy can possibly

assure compliance.

        The consequent risk to the integrity of this trial caused by Plaintiffs’ persistent disregard

for this Court’s Orders is so great that Plaintiffs should not be permitted to pursue their clearly

intended strategy of filling the evidentiary holes in their case with falsified versions of LGO.

Plaintiffs’ Proposed Performance should be barred in its entirety.

                                         CONCLUSION

        It is respectfully submitted that Defendants’ Seventh Motion In Limine should be granted

in its entirety.

Dated: New York, New York
       February 24, 2023

                                                      PRYOR CASHMAN LLP

                                                      By: /s/ Donald S. Zakarin
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                                                      Corporation and Sony Music Publishing
                                                      (US) LLC


8
  Unless Plaintiffs withdraw all references to musical elements this Court already has excluded
from the Liability Pretrial Order, Defendants will address such improper references by separate
motion.
                                                 9
